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  EXHIBIT
  EXHIBIT 11
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         Notice of Hearing on Referral for Transfer to ADX Florence General Population
               Name                      Register Number                   Institution
      KADAMOVAS, Jurijus                     21050-112                USP TERRE HAUTE


This Notice was delivered on (date/time):      |       - 3   -2Z975 @_}         5 Yam)
Delivered by: | Name:                        Title:
                      J Whreelw                       Comse/27
Signature:            U7          —

From:         Joseph Brian Wilson
              Hearing Administrator                                  LSdet te.
              North Central Regional Office                             /

You have been referred for a hearing before a Hearing Administrator. This hearing is to
determine if you should be transferred to the ADX Florence General Population, in Florence,
Colorado (ADX-GP). Information concerning this referral, and the procedures, are set forth in
this Notice form.

 4.   | Scheduled Date/Time for              Monday, April 7, 2025, at 7:00 a.m. Central Time, 8:00
        Hearing:                             a.m. Eastern Time. _
 2.   | This hearing may be conducted via video conferencing, teleconference, or in person at your
        present institution, or at any other location determined by the Hearing Administrator.
        **¥our hearing will be conducted via videoconference.
 3.     You are being referred for placement in the      ADX-GP based       on the following:
 Y      |The Inmate’s placement in other correctional facilities creates a risk to institutional
        security and good order or poses a risk to the safety of staff, Inmates, others, or to
        public safety.
 ¥    | As aresult of the inmate's status, either before or after incarceration, the inmate may not
     be safely housed in the general population of another institution.
 ¥ | The inmate engaged in any conduct that is prohibited by any federal law or state law in
     the facility where the inmate is housed.
 ¥ | The inmate has notoriety to the extent that the inmate's well-being would be jeopardized
      in a less secure setting.
Inmate KADAMOVAS, Jurijus, Reg. No. 21050-112, is a 58-year-old, White, male offender. Inmate
KADAMOVAS is a citizen of Lithuania, and has a release residence in Encino, California. Inmate
KADAMOVAS’s custody level is MAX, and his security level is HIGH. He has the Security Threat
Group (STG) assignments of Death Row Inmate, Escape History, Escape Risk, and Management
Interest Group 96. On     March   12, 2007, he was sentenced    by the Central District of California to
a sentence of Death for Conspiracy to Take Hostages Resulting in Death, Hostage Taking
Resulting in Death, Conspiracy to Launder Instruments, Conspiracy to Escape from Custody,
and Criminal Forfeiture. On December 23,.2024, the President of the United States approved
Executive Clemency changing his sentence of Death, to a sentence of Life. He has a formally
filed detainer for INS Deportation. Inmate KADAMOVAS is Medical Care Level 2, Stable or
Simple Chronic Care, and Mental Health Care Level 2. On March 6, 2025, an Extraordinary
Security Concerns review was conducted regarding inmate KADAMOVAS’s extensive Medical
and Mental health concerns regarding his placement at the ADX GP. The conclusion of the
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Extraordinary Security Concerns review committee               determined        his   security   concerns      are
extraordinary, and he could be placed at the ADX.

Basis for Referral
Inmate KADAMOVAS          is being referred for placement in the General Population at the United
States Penitentiary, Administrative Maximum,         in Florence.

Inmate KADAMOVAS          arrived at USP Terre Haute SCU on July 18, 2007.

inmate KADAMOVAS convicted for the kidnapping, and murders of five wealthy, Russian
immigrants in 2001, and 2002. The victims’ bodies were found in a reservoir near Yosemite
National Park, While at MDC-Los Angeles, inmate KADAMOVAS, and his codefendant, were
involved in a very elaborate escape plot to escape from custody.

Institution staff believe Inmate KADAMOVAS's placement in other correctional facilities
creates a risk to institutional security and good order and poses a risk to the safety of staff,
inmates, others, or to public safety. A recommendation to transfer inmate KADAMOVAS to the
ADX-GP was submitted and a placement hearing was approved to be conducted.

Discipline History
Inmate KADAMOVAS          has the following disciplinary history within than the last 60 months:

Mail Abuse, Disrupt Monitoring (296)                                        1 Incident Report
Giving/Accepting Money W/O Auth (328)                                       1 Incident Report

Inmate KADAMOVAS          has the following disciplinary history greater than the Jast 60 months:

Escape (102A)                                                                 1 Incident Report
Possessing Unauthorized Item (305)                                            2 Incident Reports
Being in Unauthorized Area (316)                                              1 Incident Report

Inmate KADAMOVAS          has no pending incident reports to be resolved.

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          As an Inmate referred for placement in the ADX-GP, you will be afforded:
  a.   | The opportunity to have a written summary of the specific behavior or situation which forms the
          basis for the placement recommendation unless such information would likely endanger staff or
          others. You will receive this summary and notice of the hearing at least twenty-four hours prior
          to the hearing.
  b.   | The opportunity to be present throughout the hearing except where institution security or good
          order would be jeopardized.
  c.    | The opportunity to make an oral statement to the Hearing Administrator.
  d.   | The opportunity to present documentary evidence in your behalf which is relevant to the issue,
          provided institution security or individual safety would not be jeopardized.
  e.    | The opportunity to be advised, in writing, of the Hearing Administrator's recommendation and of
           a summary of the facts and reason(s) supporting the recommendation, to the extent institution
           security or individual safety would not be jeopardized.
  5.       |thave been advised of the above procedures related to the hearing on referral for placement in
           the ADX-GP. | have also received a copy of the Administrative Procedures for Transfer to the
         ADX-GP.
 Inmate Signature:                                      Register Number:                    Date:
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 When an Inmate has been advised of the above hearing procedures and provided a copy of the
 Administrative Procedures for Transfer to the ADX-GP, but refuses to sign the acknowledgement, the
 following is to be completed:
 | have personally advised the Inmate of the above hearing procedures and provided the Inmate with a
 copy of the Administrative Procedures for Transfer to the ADX-GP. However, the Inmate refused to
 sign the acknowledgement.
 Staff Name:                                                Staff Title:

  Staff Signature:                             |            Date:




  6.    Waiver of Appearance — ! have been advised of my opportunity to appear before the Hearing
        Administrator regarding my referral for transfer to the ADX-GP. | wish to waive my right to
        appear at this hearing. | understand | may still provide documentary evidence to the Hearing
        Administrator prior to the date of the hearing referenced in section one of this form.
  Inmate Name:                                      Register Number:                    Date:

  Staff Name:                                                Staff Title:

  Staff Signature:                        .                  Date:
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| have personally advised the Inmate of the above hearing procedures and provided the Inmate with a
copy of the Administrative Procedures for Transfer to the ADX-GP. The Inmate has declined to
appear at this hearing and refused to sign the above waiver section of this form. | have advised the
Inmate he may submit documentary information to the Hearing Administrator prior to the date of the
hearing referenced in section one of this form.
Staff Name:                                        Staff Title:

Staff Signature:                                   Date:


Second Staff Name:                                 Second Staff Title:

Second Staff Signature:                            Date:
